        Case 2:12-cv-00847-MLCF-SS Document 1 Filed 03/30/12 Page 1 of 6




                              UNITED STATESDISTRICTCOURT
                              EASTERNDISTRICTOF LOUISIANA

TASHATMRBERT,
an individual,                                      CASENO.:

                 Plaintitr,
                                                    Judge:
vs.

GENTILLY, LLC                                       Magistrate:
a TexasLimited Liability Company,

                 Defendant.


                                        gOMPLAINT

       Plaintifl TASHA IIERBERT, by and thnorghher undenignedcounsel,herebyfiles this

Cornplaintand suesGENTtr LY, LLC, a TexasLimitd Liability Company,for declaratoryand

injunctive reheq aftorneys' feesoand costspurstrantto the Americanswith Disabilities AcL 42

U.S.C.$ 12181et seQ.,and
                       alleges:

                               JURTSp{CTrQII
                                          Ar\rDPARTTES
l.     This is an action for declaratoryandinjrurctiverelief pursuantto Titlo Itr of the Americans

       With DisabilitiesAc! 42 U.S.C.S l2l 8l etseq.(hereinafterrefenedto asthe"ADA'). This

       Courtis vestedwith originaljruisdictionprnsuantto 28 U.S.C.S$ 1331and 1343.

2.     Venueis properin this Courtpursuantto ILIJ.S.C.$13910).

3.     Plaintiq     TASHA HERBERT, (breinafter referred to as oI\tIS. HERBERT' or
       '?LAINTIFF), is a residentof OrleansParist\ Louisiana.
     Case 2:12-cv-00847-MLCF-SS Document 1 Filed 03/30/12 Page 2 of 6



4.   MS. HERBERT is a qualified individual with a disability underthe ADA. MS. HERBERT

     is afflicted with spina bifida.

5.   Due to her disability, PLAINTIFF is substantiallyimpaired in severalmajor life activities and

     requiresa wheelchairor a walker for mobility.

6.   Upon information and belief, DefendantGENTILLY, LLC is a Texas Limited Liability

     Companyoregistered to do business in the State of Louisiana (hereinafter referred to as

     "DEFENDANT"). DEFENDANT is the owner, lessee,lessorand/or operatorof the real

     propertiesand improvements which is the subject of this action, generally located at3043,

     3 I 6 l, 3 I 35 Gentilly Boulevard;2050, 205l, 3427l, 3 4270, 2109,3 4268,2103,214l Caton

     Street; 34266,34264,34265 Touro; 34263Senate;4001, 4036,34261,34273,34276

     FrenchmanStreet,New Orleans,LA 70122 .TheDEFENDANT is obligatedto comply with

     the ADA.

7.   All events giving rise to this lawsuit occurred in the EasternDistrict of Louisiana. Orleans

     Parish,Louisiana.



                   COUNT I - VIOLATION OF TITLE III OF THE
                       AMERICANS WITH DISABILITIES ACT

8.                                        | - 7 asif theywereexpresslyrestatedherein.
     PLAINTIFFreallegesandreaversParagraphs

9.   ThePropertyis a placeof publicaccommodation,
                                               subjectto theADA, generallylocatedat:

     3043,3161,
             3135GentillyBoulevard;
                                 2050,2051,34271,3t4270,210g,34268,2103,2141

     CatonStreet;3 4266,3 4264,3 4265Touro; 3 4263Senate;
                                                        4001, 4036, 3 4261,3 4273, 3 4276
       Case 2:12-cv-00847-MLCF-SS Document 1 Filed 03/30/12 Page 3 of 6



       FrenchmanStreet,New Orleans,LA 70122

10.     MS- HERBERThasvisitedthe Propertynumeroustimes andplansto visit the property

       againin the nearfuture.

I l.   Duringthesevisits,MS. HERBERTexperienced
                                              seriousdifficultyaccessing
                                                                       thegoodsand

       utilizing theservicesthereindueto thearchitecturalbarriersasdiscussed
                                                                           in paragraphl4 of

       this Complaint.

12'    MS. HERBERTcontinuesto desireto visit theProperty,but continuesto expeiienceserious

       difficulty dueto the barriersdiscussed
                                            in Paragraph14which still exist.

13'    MS. HERBERTintendsto andwill visit thePropertyto utilize thegoodsandservicesin the

       future,but fearsthatshewill encounterthe samebarriersto accesswhich arethe subjectsof

       this action.

14.    DEFENDANTisinviolationof4ZU.S.C.
                                      $ l2l8l etseq.and28C.F.R.g 36.302etseq.and

       is discriminatingagainstPLAINTIFFdueto, but not limited to the following violations

       which PLAINTIFF personallyobservedand/orencountered
                                                         which hinderedher access:

              A.      Inaccessibledisabledparking designatedas accessibledue to improper

                      striping,signage,slope,location,spacewidthsandaccessaislewidths;

              B.      Insufficientnumberof disabledparkingspaces;

              C.      Thereis no compliantaccessible
                                                   routefrom theparkingareasto the facility;

              D.      Thereis no compliantaccessible
                                                   routefrom the streetto the facility;

              E.      Thereis no compliantaccessible
                                                  routebetweentheindividualbuildingsthat

                      comprisethe facility;

              F.      Therearerampsandcurbcutsat the facility that do not havelevel landings
       Case 2:12-cv-00847-MLCF-SS Document 1 Filed 03/30/12 Page 4 of 6



                    and/or contain excessiveslopes,ffid fails to provide a smoothtransition

                    wherethe rampsconnectwith the sidewalkandroadway;

             G.     The restroomsin the facility arenon-compriant;and

             H.     Noncompliantdoorhandles.

15.   Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF, and others

      similarly situated,by failing to makereasonable
                                                    modificationsin policies,practicesor

      procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

      opportunityto participatein, or benefitfrom, the goods,services,facilities,privileges,

      advantages,
               andaccommodations
                               whichDEFENDANToffersto thegeneralpublic;andby

      failingto takesucheffortsthatmaybenecessary
                                               to ensurethatno individualwith a disability

      is excluded,denied services,segregated,or otherwise treated differently than other

      individualsbecause
                       of the absence
                                    of auxiliaryaidsandservices.

16.   To date,all balriersto accessandADA violatiLons
                                                   still existandhavenot beenremediedor

      alteredin sucha way as to effecfuatecompliancewith the provisionsof the ADA, even

      thoughremovalis readilyachievable.

t7.   Removal of the discriminatorybarriers to accesslocated on the Property is readily

      achievable,reasonablyfeasible,and easilyaccomplished,
                                                          and would not placean undue

      burdenon DEFENDANT.

19.   Removalof the barriersto accesslocatedon the Propertywould providePLAINTIFF an

      equalopportunityto participatein, or benefitfrom,thegoods,services,andaccommodations

      which DEFENDANT offersto the generalpublic.

20.   Independentof his intent to return as a patronto the Property,PLAINTIFF additionally
       Case 2:12-cv-00847-MLCF-SS Document 1 Filed 03/30/12 Page 5 of 6



       intendsto return asan ADA test€rto det€,rrnine
                                                    whetherthe barriersto accessstatedherein

       havebeenremedied.

21.    PLAINTIFF has ben obligated to retain ttre undersienedcounsel for the filing and

       prosecutionof this action. PLAINTIFF is entitled to haveher reasqnableattorneys'fws,

       costs,andexpenses
                       pald by DEFENDAI.IT,pursuantto 42U.S.C.$ 12205.

       WHEREFORE,PLAINTIFF demandsjudgment againstDEFENDAI*IT,and requeststhe

following injunctive and declaratoryrelief,

       A.     That this Court Declare that the Property owned, leased and/or operatedby

              DEFENDAIIT is in violation of the ADA;

       B.     That this Court enteran OrderdirectingDEFENDAI.ITto alter the facility to make

              it accessibleto anduseableby individualswith disabilitiesto the full extentrequired

              by Tifle III of the ADA;

       C.     mat this Cotrt enteranOrderdirectingDEFENDAIIT to evaluateandneufralizeits

              policies,pmctices,andprocedurestowardspersonswith disabilitiesfor a reasonable

              amountoftime, allowing implementationandcompletionof qorrectiveprocedures;

      D.      That this Court awardreasorrable
                                             attorneys'fe€s,costs(including expertfees),and

              otherexpensesof suit, to pLAINTIFF; and

      E.      Thst this Court awardsuchother and furttrerrelief as it deemsnecessary,
                                                                                   just and

              proper
Case 2:12-cv-00847-MLCF-SS Document 1 Filed 03/30/12 Page 6 of 6



                                  RespectfullySubmitted,

                                  THE BIZER LAW FIRM
                                  Attorneysfor Plaintiff
                                  AndrewD. Bizer(LA # 30396)
                                  andrew@bizerlaw.com
                                  757St.CharlesAve.,Suite304
                                  New Orleans,Louisiana 70130
                                  T: 504-619-9999
                                  F: 504-592-3300
